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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

   LEAGUE    OF    UNITED                   LATIN           )
   AMERICAN CITIZENS, et al.,                               )
                                                            )
                   Plaintiffs,                              )    Civil Action No.: 1:25-cv-00946
                                                            )
           v.                                               )
                                                            )
   EXECUTIVE OFFICE OF THE                                  )
                                                            )
   PRESIDENT, et al.,                                       )
                                                            )
                   Defendants.                              )


                                     APPEARANCE OF COUNSEL


To the Clerk of Court and all parties of record:


        I am admitted or otherwise authorized to practice in this court and appear in this case as counsel for

the following: League of Women Voters Education Fund, League of Women Voters of the United States,

League of Women Voters of Arizona, Hispanic Federation, National Association for the Advancement of

Colored People, OCA – Asian Pacific American Advocates, and Asian and Pacific Islander American Vote.

        I certify that I am familiar with the Local Rules of this Court.




 Dated: April 30, 2025                                              Respectfully submitted,


                                                                    /s/ Andrew B. Garber_______
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